Case 5:18-cr-00258-EJD Document 896-1 Filed 08/06/21 Page 1 of 8




        Exhibit 1
Case 5:18-cr-00258-EJD Document 896-1 Filed 08/06/21 Page 2 of 8
Case 5:18-cr-00258-EJD Document 896-1 Filed 08/06/21 Page 3 of 8
Case 5:18-cr-00258-EJD Document 896-1 Filed 08/06/21 Page 4 of 8
Case 5:18-cr-00258-EJD Document 896-1 Filed 08/06/21 Page 5 of 8
Case 5:18-cr-00258-EJD Document 896-1 Filed 08/06/21 Page 6 of 8
Case 5:18-cr-00258-EJD Document 896-1 Filed 08/06/21 Page 7 of 8
Case 5:18-cr-00258-EJD Document 896-1 Filed 08/06/21 Page 8 of 8
